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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
__________________________________________
  VIVIAN PATZ and MICHAEL PATZ,             )
                                            )
                   Plaintiffs,              ) Civil Action No.: 2:17-cv-03465
        v.                                  )
                                            )
  WALTER H. MAPLES, INC., SHELLY            ) Judge Susie Morgan
  JAMBON, SHH PROPERTIES, L.L.C., DOES 1 – )
  10, ABC INSURANCE COMPANIES 1 – 10,       ) Magistrate Judge Janis Van Meerveld
                                            )
                  Defendants.               )
  _________________________________________ )

                                            ORDER

     Considering the foregoing Motion to Enroll Additional Counsel of Record by Plaintiffs

Vivian Patz and Michael Patz, and for the reasons stated therein,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Motion to Enroll

Additional Counsel of Record by Plaintiffs is hereby GRANTED. Amanda Hass, of the Law Office

of William Most, shall be and is hereby enrolled as additional counsel of record for Vivian Patz

and Michael Patz in the above-captioned matter.

       New Orleans, Louisiana on this _________day of January, 2019.




                                                          JUDGE SUSIE MORGAN
